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10
                                 UNITED STATES DISTRICT COURT
11
                                         DISTRICT OF ARIZONA
12
      Mi Familia Vota, et al.,                                  No. 2:20-cv-01903-SPL
13
14                         Plaintiffs,

15    v.                                                     MOTION TO INTERVENE
16
      Katie Hobbs, in her official capacity as the
17
      Arizona Secretary of State,
18
                           Defendant.
19
20
21          The Republican National Committee (“RNC”) and the National Republican

22   Senatorial Committee (“NRSC” and, together with the RNC, the “Proposed Intervenors”)

23   respectfully move to intervene in this action pursuant to Fed. R. Civ. P. 24. “Rule 24

24   traditionally receives liberal construction in favor of applicants for intervention,” Arakaki

25   v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003), and, as detailed below, the Proposed

26   Intervenors’ participation in these proceedings will not only protect their cognizable legal

27   interests in the uniform and consistent enforcement of Arizona’s voter registration laws, but

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 1   will facilitate the informed and expeditious resolution of the issues presented in the
 2   Complaint.
 3                                            ARGUMENT
 4   I.      The Proposed Intervenors Are Entitled to Intervene As of Right
 5           Intervention must be permitted
 6           when the proposed intervenor claims an interest relating to the property or
             transaction that is the subject of the action, and is so situated that disposing
 7           of the action may as a practical matter impair or impede the movant’s ability
 8           to protect its interest, unless existing parties adequately represent that
             interest.
 9
10   Fed. R. Civ. P. 24(a)(2). The Ninth Circuit has distilled this provision to a four-part rubric.

11   “A party seeking to intervene as of right must meet four requirements: (1) the applicant

12   must timely move to intervene; (2) the applicant must have a significantly protectable

13   interest relating to the property or transaction that is the subject of the action; (3) the

14   applicant must be situated such that the disposition of the action may impair or impede the

15   party’s ability to protect that interest; and (4) the applicant’s interest must not be adequately

16   represented by existing parties.” Arakaki, 324 F.3d at 1083; see also Donnelly v. Glickman,

17   159 F.3d 405, 409 (9th Cir. 1998); United States v. City of Los Angeles, 288 F.3d 391, 397

18   (9th Cir. 2002). “In evaluating whether Rule 24(a)(2)’s requirements are met, we normally

19   follow ‘practical and equitable considerations’ and construe the Rule ‘broadly in favor of

20   proposed intervenors.’ We do so because ‘[a] liberal policy in favor of intervention serves

21   both efficient resolution of issues and broadened access to the courts.’” Wilderness Soc. v.

22   U.S. Forest Serv., 630 F.3d 1173, 1179 (9th Cir. 2011) (internal citations omitted). Each of

23   the four elements is addressed below.

24           A.     This Motion Is Timely

25           Any contention that the Proposed Intervenors tarried unreasonably before seeking to

26   intervene is implausible on its face. This Motion was filed less than 48 hours after the

27   Plaintiffs initiated their suit. The Proposed Intervenors’ diligence in moving to intervene,

28   compounded with the lack of pending discovery and the absence of any prior rulings on the
                                                    2
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 1   merits, militate strongly in favor of granting the Motion. See Arakaki, 324 F.3d at 1084
 2   (“The district court did not abuse its discretion by finding Hoohuli’s motion, filed three
 3   weeks after the filing of Plaintiffs’ complaint, timely.”); Citizens for Balanced Use v. Mont.
 4   Wilderness    Ass’n,   647   F.3d    893,   897    (9th   Cir.   2011)   (“Applicants    filed
 5   their motion to intervene in a timely manner, less than three months after the complaint was
 6   filed and less than two weeks after the Forest Service filed its answer to the complaint.”);
 7   Silver v. Babbitt, 166 F.R.D. 418, 424 (D. Ariz. 1994) (allowing intervention when
 8   complaint was filed on February 17 and intervenor filed application on March 3).
 9          Indeed, this Court has allowed motions to intervene that were preceded by a far
10   longer temporal lapse, particularly when, as here, the Court has not yet resolved substantive
11   issues in dispute and any alleged dilatoriness did not prejudice any named party. See, e.g.,
12   Acosta v. Huppenthal, CV 10-623 TUC-AWT, 2012 WL 12829994, at *2 (D. Ariz. Feb. 6,
13   2012) (“It is true that the Motion to Intervene was filed more than fourteen months after
14   Plaintiffs’ initial Complaint and that it was filed after Defendant’s Motion to Dismiss and
15   Plaintiffs’ Motion for Preliminary Injunction had been fully briefed and argued before the
16   Court. However, no discovery has taken place and briefing on the parties’ summary
17   judgment motions is still ongoing.”); Equal Employment Opportunity Comm’n v. AutoZone,
18   Inc., CV 06-1767-PCT-PGR, 2006 WL 8440511, at *1 (D. Ariz. Oct. 31, 2006) (“[T]he
19   motion to intervene was timely brought because it was filed some nine weeks after the
20   commencement of this action.”); Gila River Indian Cmty. v. United States, CV10-1993
21   PHX-DGC, 2010 WL 4811831, at *2 (D. Ariz. Nov. 19, 2010) (six-week delay was not
22   unreasonable, noting that intervention would not disrupt previously issued scheduling
23   order). The Motion hence easily satisfies the timeliness criterion.
24          B.     The Proposed Intervenors Have a Significant Protectable Interest in the
25                 Litigation

26          The Proposed Intervenors “have a significant protectable interest in the action.”
27   Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011).
28   “To demonstrate a significant protectable interest, [the movant] must establish that the
                                                   3
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 1   interest is protectable under some law and that there is a relationship between the legally
 2   protected interest and the claims at issue,” but “‘[n]o specific legal or equitable interest need
 3   be established.’” Id. “Instead, the ‘interest’ test directs courts to make a ‘practical, threshold
 4   inquiry’ and ‘is primarily a practical guide to disposing of lawsuits by involving as many
 5   apparently concerned persons as is compatible with efficiency and due process.’” United
 6   States v. City of Los Angeles, 288 F.3d 391, 398 (9th Cir. 2002) (internal citations omitted).
 7          An “interest” sufficient for intervention at least arguably can be more generalized
 8   and diffuse than an “injury” necessary for standing. See Prete v. Bradbury, 438 F.3d 949,
 9   955 n.8 (9th Cir. 2006) (noting circuit split and declining to decide the question). The
10   Proposed Intervenors’ interest in this dispute, however, is so direct and palpable that the
11   relief sought by the Plaintiffs would exact at least two cognizable legal injuries on them.
12          First, a distinct injury inheres in the existence of an unlawfully structured
13   competitive electoral environment. The notion of competitive standing is not novel, and
14   posits that a candidate or political party may challenge an election law or procedure that
15   unlawfully “hurts the candidate’s or party’s own chances of prevailing in the election.”
16   Townley v. Miller, 722 F.3d 1128, 1135 (9th Cir. 2013) (internal citation omitted); see also
17   Drake v. Obama, 664 F.3d 774, 783 (9th Cir. 2011) (affirming that “the ‘potential loss of
18   an election’ was an injury-in-fact sufficient to give a local candidate and Republican party
19   officials standing”). The deadline governing the submission of voter registration is a pillar
20   of the “structur[e] of th[e] competitive environment,” and Plaintiffs’ requested relief would
21   “fundamentally alter the environment in which [the Proposed Intervenors] defend their
22   concrete interests (e.g. their interest in . . . winning [election or] reelection).” Shays v.
23   Federal Election Comm., 414 F.3d 76, 85-86 (D.C. Cir. 2005); cf. Wright & Miller, 7C FED.
24   PRAC. & PROC. CIV. § 1908.1 (3d ed.) (“[I]n cases challenging various statutory schemes
25   as unconstitutional or as improperly interpreted and applied, the courts have recognized that
26   the interests of those who are governed by those schemes are sufficient to support
27   intervention.”).
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                                                     4
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 1          Second, and relatedly, an organization incurs a cognizable injury by a “frustrat[ion]”
 2   of “its mission,” which “cause[s] it to divert resources in response to that frustration of
 3   purpose.” East Bay Sanctuary Covenant v. Trump, 950 F.3d 1242, 1265 (9th Cir. 2020);
 4   see also Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) (holding that an alleged
 5   “impair[ment]” of organization’s ability to carry out its mission engendered standing,
 6   explaining that “[s]uch concrete and demonstrable injury to the organization’s activities—
 7   with the consequent drain on the organization’s resources—constitutes far more than simply
 8   a setback to the organization’s abstract social interests”); Texas Democratic Party v.
 9   Benkiser, 459 F.3d 582, 588 (5th Cir. 2006) (observing that “the goal of a political party is
10   to gain control of government by getting its candidates elected” and that this interest can
11   sustain legal standing). The Proposed Intervenors have predicated their own extensive voter
12   registration efforts in Arizona on the statutorily fixed deadline of October 5, 2020. See
13   Ariz. Rev. Stat. § 16-120.      By upending this critical fixed premise of the electoral
14   environment, the order sought by the Plaintiffs will impel the Proposed Intervenors to
15   allocate additional scarce resources to voter registration activities in Arizona to ensure that
16   they maintain competitive parity. See infra Section I.C.
17          In short, the Proposed Intervenors’ interests in (1) preserving a predicable, fair and
18   equitable electoral environment underpinned by the enforcement of neutral and generally
19   applicable statutes, and (2) avoiding a diversion of organizational resources caused by last-
20   minute displacements of key statutorily deadline easily suffice for intervention.
21          C.     The Order Sought By Plaintiffs Would Directly Impair the Proposed
22                 Intervenors’ Protectable Interests

23          “Generally, after finding that a proposed intervenor has a significant protectable
24   interest, courts have little difficulty concluding that the disposition of the case may affect
25   it.” Nat’l Union Fire Ins. Co. of Pittsburgh, PA v. Ampam Riggs Plumbing Inc., CV-14-
26   00039-PHX-DGC, 2014 WL 1875160, at *5 (D. Ariz. May 9, 2014); see also Sw. Center
27   for Biological Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001) (“We follow the
28   guidance of Rule 24 advisory committee notes that state that ‘[i]f an absentee would be
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 1   substantially affected in a practical sense by the determination made in an action, he should,
 2   as a general rule, be entitled to intervene.’”).
 3          Should the Plaintiffs obtain the relief they seek, the Proposed Intervenors will be
 4   impelled to redirect substantial funds and manpower to restarting their voter registration
 5   efforts in Arizona, and to educate prospective Republican registrants about the extended
 6   registration deadline. As explained in the Declaration of Brian Seitchik (attached hereto as
 7   Exhibit A), each additional week during which the voter registration deadline is extended
 8   will cost the Republican Committees approximately $37,000. The Republican Committees’
 9   personnel will also be compelled to expend substantial time and resources developing
10   alternative voter registration, get-out-the-vote drives, and Election Day operation strategies
11   to account for the new reality and educating voters, volunteers, staff, and contractors
12   regarding the change in Arizona’s election rules. See Seitchik Decl. ¶¶ 8-9.
13          The political, financial and logistical dislocations that a ruling in Plaintiffs’ favor
14   would inevitably engender for the Proposed Intervenors constitutes an impairment of their
15   protected interests. See OCA-Greater Houston v. Texas, 867 F.3d 604, 612 (5th Cir. 2017)
16   (finding that the need to “educate voters about Texas’s [voter assistance laws]” was “an
17   undertaking that consumed [the plaintiff’s] time and resources in a way they would not have
18   been spent” and so gave rise to organizational standing); Common Cause Indiana v.
19   Lawson, 937 F.3d 944, 951 (7th Cir. 2019) (finding organizational standing where “the
20   Organizations will be forced to spend resources cleaning up the mess” caused by challenged
21   voter roll maintenance” and will “expend[] resources educating voters and community
22   activities” about the issue); Florida State Conference of N.A.A.C.P. v. Browning, 522 F.3d
23   1153, 1165–66 (11th Cir. 2008) (same conclusion where “[t]he organizations reasonably
24   anticipate that they will have to divert personnel and time to educating volunteers and
25   voters” about registration issues).
26                 D.      No Existing Party Adequately Represents the Proposed
27                         Intervenors’ Interests

28          “The burden of showing inadequacy of representation is ‘minimal,’” Citizens for
                                                        6
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 1   Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir. 2011), and while
 2   it increases “when the government is acting on behalf of a constituency that it represents,”
 3   id., it is easily discharged in this case.
 4          Although both the Secretary and the Proposed Intervenors take the position that the
 5   voter registration deadline prescribed by Ariz. Rev. Stat. § 16-120(A) is constitutionally
 6   sound and fully enforceable, “the government’s representation of the public interest may
 7   not be ‘identical to the individual parochial interest’ of a particular group just because ‘both
 8   entities occupy the same posture in the litigation.’” Id. at 899 (internal citation omitted);
 9   see also Utah Ass’n of Ctys. v. Clinton, 255 F.3d 1246, 1255 (10th Cir. 2001); Sierra Club
10   v. Espy, 18 F.3d 1202, 1208 (5th Cir. 1994) (allowing industry representatives’ intervention
11   in challenge to logging regulation that could affect existing timber contracts, noting that
12   “[t]he government must represent the broad public interest, not just the economic concerns
13   of the timber industry”); Crossroads Grassroots Policy Strategies v. Fed. Election Comm’n,
14   788 F.3d 312, 321 (D.C. Cir. 2015) (“[W]e look skeptically on government entities serving
15   as adequate advocates for private parties”); Wildearth Guardians v. Salazar, 272 F.R.D. 4,
16   15 (D.D.C. 2010) (“[I]t is well-established that governmental entities generally cannot
17   represent the ‘more narrow and parochial financial interest’ of a private party.”); Nat. Res.
18   Def. Council v. McCarthy, 16-CV-02184-JST, 2016 WL 3880702, at *4 (N.D. Cal. July 18,
19   2016) (“[T]he Proposed Intervenors are specifically concerned with their own interests in
20   the water supplies affected by the challenged water standards, which are distinct from the
21   interests of the EPA in defending its procedural scheme. The Court therefore cannot
22   conclude that the EPA ‘will undoubtedly make’ all of the Proposed Intervenors’
23   arguments.”); Arizona v. Jewell, CV-15-00245-TUC-JGZ, 2016 WL 3475333, at *2 (D.
24   Ariz. Jan. 25, 2016) (“Although [proposed intervenor] seeks the same general outcome as
25   both the Plaintiffs and the other Plaintiff-Intervenors,” its own uniquely situated interests
26   supported intervention as of right).
27          This truism assumes particular salience in the electoral context.            While the
28   Secretary’s “arguments turn on [her] inherent authority . . . [and] responsibility to properly
                                                    7
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 1   administer election laws, the Proposed Intervenors are concerned with ensuring their party
 2   members and the voters they represent have the opportunity to vote in the upcoming federal
 3   election, advancing their overall electoral prospects, and allocating their limited resources
 4   to inform voters about the election procedures.” Issa v. Newsom, 220CV01044MCECKD,
 5   2020 WL 3074351, at *3 (E.D. Cal. June 10, 2020). Here, the Secretary has not asserted
 6   any ability or intention to safeguard the explicitly political, electoral and strategic interests
 7   that underlie the Proposed Intervenors’ participation in these proceedings.
 8          More specifically, the Proposed Intervenors’ interests diverge from those of the
 9   Secretary in at least three respects.
10          First, the Secretary’s stated opposition to the Proposed Intervenors’ participation in
11   this action is an ipso facto indicator of inadequate representation. See Utah Ass’n of Ctys.,
12   255 F.3d at 1256 (“The government has taken no position on the motion to intervene in this
13   case. Its ‘silence on any intent to defend the [intervenors’] special interests is deafening.’”)
14   (internal citation omitted); WildEarth Guardians v. U.S. Forest Serv., 573 F.3d 992, 997
15   (10th Cir. 2009) (citing government’s opposition to coordinating filings with proposed
16   intervenor in concluding that “we are convinced that [proposed intervenor] has established
17   a possibility of inadequate representation”).
18          Second, the Secretary’s consent to a consolidation of the Plaintiffs’ motion for
19   preliminary relief with a trial on the merits pursuant to Fed. R. Civ. P. 65 and apparent
20   position that this dispute presents pure questions of law bespeak a critical disagreement with
21   the Proposed Intervenors, who believe that the litigation entails significant factual
22   questions. Specifically, the Proposed Intervenors intend to present to the Court evidence
23   that the Secretary will not—in the form of data and declarations relating to the collection of
24   ballot measure petition signatures during the relevant time period—which undermines the
25   Plaintiffs’ allegation of a “burden” on their First and Fourteenth Amendment rights. See
26   generally Berg, 268 F.3d at 823-24 (observing that “the interests of government and the
27   private sector may diverge. On some issues Applicants will have to express their own
28   unique private perspectives and in essence carry forward their own interests”).
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 1          Third, the Secretary has not confirmed any intention to prosecute a vigorous and
 2   expedited appeal of an adverse ruling. See Americans United for Separation of Church &
 3   State v. City of Grand Rapids, 922 F.2d 303, 306 (6th Cir. 1990) (“We agree with the
 4   District of Columbia Circuit that a decision not to appeal by an original party to the action
 5   can constitute inadequate representation of another party’s interest.”); Fisher-Borne v.
 6   Smith, 14 F. Supp. 3d 699, 709 (M.D.N.C. 2014) (government’s refusal to appeal “may . . .
 7   suggest that Movants are not adequately represented by existing parties”); see also
 8   Wildearth Guardians, 573 F.3d at 997 (noting the possibility of inadequate representation
 9   by government agency and pointing out that “government policy may shift”); Virginia v.
10   Ferriero, CV 20-242 (RC), 2020 WL 3128948, at *4 (D.D.C. June 12, 2020) (commenting
11   that “it is not difficult to see that the interests of Movants and the federal government ‘might
12   diverge during the course of the litigation,’ id. at 736 particularly since the federal
13   government ‘remains free to change its strategy’ as the case proceeds” (quoting Fund for
14   Animals, Inc. v. Norton, 322 F.3d 728, 730 (D.C. Cir. 2003))). Should the Secretary decline
15   to immediately appeal in such circumstances, only the Proposed Intervenors—by virtue of
16   the direct injury to their legal interests that an adverse ruling would inflict, see supra Section
17   I.B and I.C—would have standing to independently commence an appeal. See generally
18   United States v. Windsor, 570 U.S. 744 (2013) (intervenor must have Article III standing to
19   pursue its own appeal). The very real possibility that the Proposed Intervenors may well be
20   the only party possessing the incentive and willingness to vindicate the enforcement of
21   Arizona’s voter registration deadline underscores at least a potential incongruence of
22   interests with the Secretary. See Trbovich v. United Mine Workers of Am., 404 U.S. 528,
23   538 & n.10 (1972) (“The requirement of the Rule is satisfied if the applicant shows that
24   representation of his interest ‘may be’ inadequate”; proof of certain divergence is not
25   necessary).
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 1   II.    In the Alternative, the Court Should Allow Permissive Intervention
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            Even if the Court finds that one or more of the prerequisites for intervention as of
 3
     right remain unsatisfied, it should allow the Proposed Intervenors to intervene permissively,
 4
     pursuant to Rule 24(b). That provision contemplates intervention by “anyone” who “has a
 5
     claim or defense that shares with the main action a common question of law or fact,” Fed.
 6
     R. Civ. P. 24(b)(1)(B), provided that intervention will not “unduly delay or prejudice the
 7
     adjudication of the original parties’ rights,” id. 24(b)(3). As apprehended by the Ninth
 8
     Circuit, Rule 24(b) countenances permissive intervention “where the applicant for
 9
     intervention shows (1) independent grounds for jurisdiction; (2) the motion is timely; and
10
     (3) the applicant’s claim or defense, and the main action, have a question of law or a
11
     question of fact in common.” League of United Latin Am. Citizens v. Wilson, 131 F.3d
12
     1297, 1308 (9th Cir. 1997). Proposed Intervenors plainly meet each of these requirements,
13
     as this Court recently acknowledged when granting intervention to the RNC in a similar
14
     case involving challenges to rules for the 2020 election. See Ariz. Democratic Party v.
15
     Hobbs, Doc. 60, No. 2:20-cv-01143-DLR (D. Ariz. June 26, 2020) (granting intervention
16
     to the RNC and noting that “given the importance of the issues Plaintiffs raise, the Court
17
     will benefit from hearing all perspectives”).
18
            A.     The Court Has Jurisdiction to Hear the Proposed Intervenors’ Defenses
19                 and Arguments
20
            The Proposed Intervenors’ participation in these proceedings is sustained by the
21
     same jurisdictional basis that undergirds the entirety of this action—i.e., the presence of
22
     claims arising under the Constitution and laws of the United States. See 28 U.S.C. § 1331.
23
     As the Ninth Circuit has explained, the necessity of a jurisdictional predicate for
24
     intervention “stems . . . from our concern that intervention might be used to enlarge
25
     inappropriately the jurisdiction of the district court” by supplying a diversity of citizenship
26
     that otherwise is lacking among the named parties or, alternatively, divesting the Court of
27
     jurisdiction over cases that previously featured diversity of citizenship. See Freedom from
28
                                                     10
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 1   Religion Found., Inc. v. Geithner, 644 F.3d 836, 843 (9th Cir. 2011). By contrast, when the
 2   main action is predicated on federal question jurisdiction, the requirement to demonstrate
 3   an independent jurisdictional basis for intervention arises “only where a proposed
 4   intervenor seeks to bring new state-law claims,” id. at 844, which is not the case here.
 5          B.     The Motion to Intervene Is Timely
 6          The mere two-day interregnum between the initiation of this action and the filing of
 7   the instant Motion was not unreasonable, nor did it inflict any articulable prejudice on any
 8   party. The Court has not yet issued any substantive rulings on the merits, and intervention
 9   does not threaten to upend the resolution of any previously settled issues or the existing
10   parameters of the litigation. See, e.g., San Jose Mercury News, Inc. v. U.S. Dist. Court, 187
11   F.3d 1096, 1101 (9th Cir. 1999) (allowing permissive intervention when motion was filed
12   12 weeks into the litigation, deeming the delay not unreasonable and noting the lack of
13   prejudice); Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094, 1111 n.10 (9th Cir. 2002)
14   (affirming grant of permissive intervention, reasoning that “because the intervention
15   motions were filed near the case outset and the defendant-intervenors said they could abide
16   the court’s briefing and procedural scheduling orders, there was no issue whatsoever of
17   undue delay”), abrogated in part on other grounds by Wilderness Soc. v. U.S. Forest Serv.,
18   630 F.3d 1173 (9th Cir. 2011); WildEarth Guardians v. Zinke, CV-18-00048-TUC-JGZ,
19   2018 WL 3475441, at *2 (D. Ariz. July 19, 2018) (allowing intervention on both mandatory
20   on permissive grounds, noting that “[t]his case is at an early stage and briefing on
21   Defendants’ pending motion to dismiss has not closed”).
22          C.     The Proposed Intervenors’ Arguments Will Relate to the Same Factual
23                 and Legal Questions Already in Dispute and Will Contribute to an
                   Informed Adjudication of Plaintiffs’ Claims
24
            Not only do the Plaintiffs’ claims and the Proposed Intervenors’ arguments share at
25
     least one common legal question, they are effectively coterminous in their subject matter.
26
     See generally Andrews v. Triple R. Distrib., LLC, CV 12-346-TUC-HCE, 2012 WL
27
     3779932, at *2 (D. Ariz. Aug. 31, 2012) (“The determination of whether a
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                                                  11
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 1   ‘common question’ exists is liberally construed.” (internal citation omitted)). The Proposed
 2   Intervenors are prepared to litigate on the legal terrain delineated in the Plaintiffs’
 3   Complaint—i.e., the constitutional validity and enforceability of Arizona’s voter
 4   registration deadline. While they reserve the right to invoke any and all arguments that may
 5   bear on the Plaintiffs’ claims, the Proposed Intervenors do not intend to raise additional
 6   claims, counterclaims or cross-claims against any party. See A.D. v. Washburn, CV-15-
 7   01259-PHX-NVW, 2016 WL 5464582, at *5 (D. Ariz. Sept. 29, 2016) (concluding that
 8   permissive intervenor’s desire to defend the statute challenged by the plaintiffs provided
 9   the requisite common question of law and fact); WildEarth Guardians, 2018 WL 3475441,
10   at *4 (finding common question when “[b]oth the [proposed intervenor] and Defendants
11   seek to defend the validity and adequacy of” challenged agency plan); contrast Melendres
12   v. Arpaio, 07-2513-PHX-MHM, 2008 WL 4446696, at *2 (D. Ariz. Sept. 30, 2008)
13   (denying permissive intervention where issues raised by proposed intervenor “seem to be
14   predicated on entirely separate events” relating to the alleged activities of a non-party).
15          In sum, by proffering an otherwise unrepresented perspective—animated by their
16   singular electoral and partisan stake in the enforcement of Arizona’s statutory voter
17   registration deadline—while respecting the litigation parameters demarcated by the Court
18   and the named parties, the Proposed Intervenors will contribute to the informed adjudication
19   of the case without unreasonably augmenting or prolonging the proceedings. See Feldman
20   v. Arizona Sec’y of State’s Office, CV-16-01065-PHX-DLR, 2016 WL 4973569, at *2 (D.
21   Ariz. June 28, 2016) (finding that political party committee intervenors “bring a different
22   perspective to the complex issues raised in this litigation. The Court might benefit from
23   hearing these viewpoints.”). The Court accordingly should permit their intervention.
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 1   III.     If Intervention is Denied, the Court Should Accept the Proposed Intervenors’
              Response to the Motion for Temporary Restraining Order as an Amicus Curiae
 2
              Brief and Allow Proposed Intervenors to Renew Their Motion After Judgment
 3            Is Entered
 4            Should the Court find that the Proposed Intervenors are not entitled to intervene as
 5   of right and decline to permit them to intervene permissively, it should, in the alternative,
 6   allow the Proposed Intervenors leave to (1) file their proposed Opposition to Plaintiffs’
 7   Motion for Temporary Restraining Order and Preliminary Injunction as a brief of amici
 8   curiae, and (2) renew this Motion to Intervene if and to the extent that the Secretary (a)
 9   enters into a settlement of the Plaintiffs’ claims and/or (b) declines to appeal on an expedited
10   basis any final judgment entered in favor of the Plaintiffs on any claim. See Fisher-Borne,
11   14 F. Supp. 3d at 710 (allowing limited intervention to preserve right of appeal).
12                                          CONCLUSION
13            For the foregoing reasons, the Court should permit the Proposed Intervenors to
14   intervene in this action either as of right or on a permissive basis, pursuant to Fed. R. Civ.
15   P. 24.
16
17            RESPECTFULLY SUBMITTED this 2nd day of October, 2020.
18
                                                  STATECRAFT PLLC
19
20                                                By: /s/ Thomas Basile
                                                      Kory Langhofer
21                                                    Thomas Basile
22                                                    649 North Fourth Avenue, First Floor
                                                      Phoenix, Arizona 85003
23
                                                        Counsel for Proposed Intervenors
24                                                      Republican National Committee and
                                                        National Republican Senatorial
25                                                      Committee
26
27
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                                                   13
      Case 2:20-cv-01903-SPL Document 15 Filed 10/02/20 Page 14 of 14



 1                                CERTIFICATE OF SERVICE
 2
            I hereby certify that on October 2, 2020, I caused the foregoing document to be
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                                                      By:     /s/Thomas Basile
 7                                                           Thomas Basile
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